NORTH CAROLINA                                             IN THE GENERAL COURT OF JUSTICE
                                        r \i . ,·- :,·;         SUPERIOR COURT,..PIV,. ~~o~o
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ALAMANCE COUNTY                        ,_, .. "\     "· \\: 28 FileNo.:        ~
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                                             ..    r .,   ~)   '.'"   ...

STEPHEN DOUGLAS SHOFFN.~R, '.NANCY: G: · ") ...
SHOFFNER, SHOFFNER PROPERTIES, LLC, c}-::>./
SHOFFNER HOLDI GS , LLC , and KELLI                       Y'°
SHOFFNER HARRELL,                         )
                                          )
                   Plaintiffs,            )
                                          )
v.                                        )                                 VERIFIED COMPLAINT
                                           )                                    (Jury Demand)
L. W. PRITCHETT, JR., INC. ; CHEVRON       )
U.S.A. INC. ; BP PRODUCTS NORTH            )
AMERICA INC. ; and JAMES HUNT              )
JOHNSO , ADMINISTRATOR OF THE              )
ESTATE OF REBECCA STEEDL Y                 )
 FAIRCLOTH ,                               )
                                           )
                  Defendants.              )
~~~~~~~~~~~~~~~~- )
        NOW COM E Plaintiffs, Stephen Douglas Shoffner, Nancy G. Shoffner, Shoffner
 Properties; LLC, Shoffner Holdings, LLC, and Kelli Shoffner Harrell, by and through
 undersigned counsel , complaining of the Defendants, and hereby allege and say as follows:

                                        ATURE OF THE CASE

         1.      Plaintiffs are current and former owners of real property located on Friendship
 Patterson Mill Road in Burlington, Alamance County, whose groundwater is contaminated with
 petroleum contaminants, most notably Methyl tert-butyl ether (" MTBE"). The contamination is
 the result of gasol ine released from the near-by former retail gasoline facility, Faircloth Grocery.
 Plaintiffs allege that the defendants' acts and omissions collectively contributed to the
 contamination of their groundwater, which has resulted in the water being unfit for household
 use without speci al filtration and in the diminution in value of their properties.

                                                  PARTIES

        2.      Plaintiff Stephen Douglas Shoffner (" Douglas") is a citizen and resident of
 Burlington, Al amance County , Torth Caro lina.

       3.    Plaintiff Nancy G. Shoffner ("Nancy") is a citizen and resident of Burlington,
 Alamance County, North Carolina.




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       4.      Plaintiff Shoffner Prope1iies, LLC, is a North Carolina limited liability company
with the capacity to bring suit.

        5.     Plaintiff Shoffner Holdings, LLC, is a N011h Carolina limited liability company
with the capacity to bring suit.

        6.   Plaintiffs Stephen Douglas Shoffner, Nancy G. Shoffner, Shoffner Prope1iies,
LLC, and Shoffner Holdings, LLC , will be collectively referred to herein as the "Shoffner
Plaintiffs."

      7.    Plai ntiff Kelli Shoffner Harrell ("Kelli") is a citizen and resident of Burlington,
Alamance County, North Carolina.

        8.      Defendant L. W . Pritchett, Jr. , Inc., ("Pritchett") is a N011h Carolina Corporation,
with its principal office located at 207 Eastwood Com1, Burlington, NC 27215. Defendant
Pritchett has the capacity to be sued.

       9.      Defendant Chevron U.S.A. Inc., ("Chevron") is a Pennsylvania Corporation
authorized by the orth Carolina Secretary of State to conduct business in North Carolina. Its
Registered Office is located at 327 Hillsborough Street in Raleigh, Wake County, North
Carolina. Defendant Chevron has the capacity to be sued.

        10.    Defendant BP Products North America Inc. , ("BP") is a Maryland Corporation
authorized by the orth Carolina Secretary of State to conduct business in North Carolina. Its
Registered Office is located at 150 Fayetteville Street in Raleigh, Wake County, No1ih Carolina.
Defendant BP has the capacity to be sued.

         11.     James Hunt Johnson is a resident of Alamance County, North Carolina, and is the
Administrator of the Estate Rebecca Steedly Faircloth ("Faircloth Estate"). Prior to her death,
the decedent, Rebecca Steedly Faircloth was a citizen and resident of Alamance County, North
Carolina, and her estate is being administrated in Alamance County. The Faircloth Estate has the
capacity to be sued. All liability alleged unto the decedent, Rebecca Steedly Faircloth, is also the
liability of the Estate.

                                   JURISDICTIO       AND VENUE

         12.   The Superior Court of the General Court of Justice has jurisdiction over this
 matter pursuant to N.C. Gen. Stat.§§ 7A-240 and 7A-243 .

        13.     Venue lies in Alamance County, orth Carolina, pursuant to N.C. Gen. Stat. §§
1-79 and 1-82, in that a substantial portion of the acts, events and omissions giving rise to the
Plaintiffs' claims occurred in this County, the Plaintiffs reside and own property in this County,
the Defendants operated and conducted business in this County, and the Properties which are the
subject of this action are located in this County.




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       14.     The State of North Carolina has personal jurisdiction over Defendant Pritchett,
pursuant to   .C. Gen. Stat. § 1-7 5 .4(1 )( c), as it is a domestic corporation.

       15.    The State of North Carolina has personal jurisdiction over Defendant: Chevron .
and BP, pursuant to N.C. Gen. Stat. § l-75.4(l)(d), as these defendants are engaged m substantial
activities within North Carolina.

       16.    The State of North Carolina has personal jurisdiction over the Faircloth Estate,
pursuant to N.C. Gen. Stat. § 1-75.4(11 ), as the State would have has a basis for jurisdiction over
Rebecca Steedly Faircloth, were she living.

                                    FACTUAL ALLEGATIO S

        17.     The allegations contained within the above paragraphs are incorporated by
reference as if fully set forth herein .

        18.    From the period begi1ming in March of2007 until December of2015, Plaintiffs
Stephen Douglas Shoffner and Nancy G. Shoffner were the owners ofreal property located at
4855 Friendship Patterson Mill Road in Burlington, Alamance County, North Carolina
(hereinafter "485 5") and being further identified as PIN 8861239384.

        19.     In December of 2015, Plaintiffs Douglas and Nancy transferred the title to 4855 to
their family's limited liability company, Plaintiff Shoffner Holdings.

        20.     Plaintiffs Douglas and Nancy reside at 4855. There is a groundwater supply well
 located at 4855, which is intended and used for household use, such as drinking, bathing,
 cooking, laundry and dishwashing.

         21.     From the period beginning in October of 2003 until December 2015, Plaintiff
 Shoffner Properties has been the owner of real property located at 4903 Friendship Patterson
 Mill Road in Burlington, Alamance County, North Carolina (hereinafter "4903 ") and being
 further identified as PIN 8861334304.

        22.     Since December of 2015 , Plaintiff Shoffner Holdings has been the owner of 4903.

        23.     Pl ai ntiffs Douglas and Nancy, by and tlu·ough Plaintiff Shoffner Holdings,
 maintain 4903 as an income property. There is a groundwater supply well located at 4903,
 which is intended and used for household use, such as drinking, bathing, cooking, laundry and
 dishwashing.

         24.     Pla intiff Kelli Harrell is the owner ofreal property located at 4917 Friendship
 Patterson Mill Ro ad in Burlington, Alamance County, North Carolina (hereinafter "49 17") and
 being further identified as PIN 8861333160.




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                                                                      -
       25.     Kelli built 4917 to be her primary residence. She resides there with her minor
son. There is a groundwater supply well located at 491 7, which is intended and used for
household use, such as drinking, bathing, cooking, laundry and dishwashing.

       26.      Plai ntiffs are informed and believe that, at all times relevant, the late Rebecca
Steedly Faircloth and her husband, the late Eulie Faircloth ("the Faircloths"), owned, occupied
and/or operated the certain real property located on the northwest corner of the intersection of
N.C. Highway 49 and Friendship Patterson Mill Road in Burlington, Alamance County, North
Carolina ("Faircloth Grocery Facility"), upon which was located a convenience store and retail
gasoline facility known as "Faircloth Grocery" for the sale of grocery items, gasoline and other
petroleum products (hereafter "the Faircloth Grocery Facility").

       27.     Plai ntiffs are informed and believe that, upon Eulie's death in February of2011,
Rebecca became the sole owner of the Faircloth Grocery Facility. Rebecca passed away on
April 10, 2016.

        28.    Plaintiffs are informed and believe that, at all times relevant, Defendant Pritchett
was engaged in business in North Carolina as a petroleum marketer or "jobber" wherein it
purchased quantities of gasoline from refining companies and resold the gasoline to the general
public. As part of this business, Defendant Pritchett supplied the gasoline to consignment
dealers and retail gasoline facilities (including the Faircloth Grocery Facility) and owned the
petroleum marketing equ ipment, including the equipment used to store and dispense gasoline at
the Faircloth Grocery Facility.

        29.    Upon information and belief, prior to 1985, Defendant Pritchett purchased and
resold gasoline from the Gulf Oil Corporation.

        30.     Upon information and belief, in or about August of 1985, Defendant Chevron
acquired the Gulf Oil Corporation, and until in or about 1989, Defendant Pritchett purchased and
resold gasoline from the Gulf Oil Corporation. (Hereinafter, "Defendant Chevron" will
collectively refer to Defendant Chevron and its predecessor entities described herein.)

       31.     Upon information and belief, then in or about 1989, Defendant Pritchett began
purchasing and reselling gasoline refined by BP Oil Company, which continued until the early
2000s. Upon information and belief, Defendant BP Products North America Inc., is the
successor to BP Oil Company. (Hereinafter, "Defendant BP" will collectively refer to Defendant
BP and its predecessor entities described herein.)

        32.    Upon information and belief, at all times relevant, Defendant Pritchett operated,
 maintained,
    .
             and exercised the right of control over the gasoline storage and dispensinab
 eqmpment at the Faircloth Grocery Facility.

        33.      In addition to or in the alternative to the immediately preceding paragraph, upon
 information and belief, during all times relevant, the Faircloths operated, maintained, and
 exercised the right of control over the gasoline storage and dispensing equipment at the Faircloth
 Grocery Facility.



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       34.     Upon information and belief, at all times relevant, Defend~nt Pri~ch~tt _was
responsible for overseeing, managing, inspecting, m_onitor~ng and _otherwise mam~~mmg th~     .
contents and condition of the gasoline storage and d1spens111g equipment at the Faucloth G10ceiy
Facility.

       35.     In addition to or in the alternative to the immediately preceding paragraph, u~on
information and belief, during all times relevant, the Faircloths were responsible fo~ ?verseemg,
managing, inspecting, monitoring and otherwise maintaining the conten~s. and condition of the
gasoline storage and dispensing equipment at the Faircloth Grocery Facility.

       36.     Upon information and belief, at all times relevant, Defe1'.dant Pritchett was t_h~
owner or bailee of the gasoline and petroleum products stored at the Faircloth Grocery Facility
and dispensed through the gasoline pumps for sale to the public.

       37.    In addition to or in the alternative to the immediately preceding paragraph, upon
information and belief, during all times relevant, the Faircloths were the owners or bailees of the
gasoline and petroleum products at the Faircloth Grocery Facility and dispensed through the
gasoline pumps for sale to the public.

        38.    Upon information and belief, at all times relevant, Defendant Pritchett was
responsible for contracting for, receiving, handling, storing, seeing to payment for, and otherwise
managing the receipt and sale of gasoline and petroleum products at the Faircloth Grocery
Facility.

        39 .    In addition to or in the alternative to the immediately preceding paragraph, upon
information and belief, during all times relevant, the Faircloths were responsible for contracting
for, receiving, handling, storing, seeing to payment for, and otherwise managing the receipt and
sale of gasoline and petroleum products at the Faircloth Grocery Facility.

        40.     In November of 1984, Defendant Pritchett hired the Southern Oil and Tank
Company to remove three 1,000-gallon underground storage tanks (US Ts) used to store gasoline
at the Faircloth Grocery Facility. The Southern Oil and Tank Company failed to document the
condition of the tanks and the adjoining soil upon removal.

       41.     In or about May of 1984, Defendant Pritchett had four USTs installed at Faircloth
Grocery, including two 8,000-gallon gasoline USTs, one 4,000-gallon gasoline UST, and one
2,000-gallon diesel fuel UST.

       42.     Then on August 26, 1989, Defendant Pritchett hired G & H Oil Equipment, Inc.,
to remove a 550-gallon kerosene tank from the Faircloth Grocery Facility (near the northeast
corner of the building). Defendant Pritchett was the owner the kerosene tank. In a letter dated
September 21 , 1989, and addressed to the North Carolina Department of Natural Resources and
Community Devel?pment (the North Carolina Department of Natural Resources and Community
Development and its successors, the North Carolina Depa11ment of Environment, Health, and
Natural Resources, the North Carolina Department of Environment and Natural Resources and
                                                                                             '


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the cunent entity, the North Carolina Department of ~nvir~nment~l Quality, will be collectively
referred to herein as the "Depai1ment") William V. Hill, Vice Presid~nt of G ~ H .noted that,
upon removal, the " [t]ank was found to haveyerforations an~ site soil contammation was .
suspected ... A soil sample was taken to Guilford Laboratories for tota.l petroleum hydro~arbon
 analysis. Results indicate 2040 p.p.m." A true and accurate copy of this correspondence is
attached hereto as Exhibit A.

       43.    On Tovember 28, 1989, the Department's Division of Environmental
Management, Ground~ater Section, issued a "Notification of Federal Release Respons~ .
Requirements for Owners and Operators of Underground Storag~ Tank ~ystem: Contammg
Petroleum or Hazardous Substances" to Defendant Pritchett, which required Pritchett to
determine the extent of the contamination by March 28, 1990. Defendant Pritchett failed to
comply with this requirement and its obligations pursuant to Pai1 280 of Title 40 of the Code of
Federal Regulations. A true and accurate copy of this correspondence is attached hereto as
Exhibit B.

         44.     Upon information and belief, low levels of MTBE contamination were detected in
 the area of Faircloth Grocery as early as July of 1990. MTBE is a constituent that is sometimes
 added to gasoline, but not to kerosene.

        45.      On December 20, 1991, the the Department's Division of Enviroim1ental
 Management, Groundwater Section sent notice to Defendant Pritchett that it had "become aware
 of groundwater contamination existing within a residential drinking water supply well ...
 located in close proximity to [Faircloth Grocery]. The contamination is believed to have resulted
 from a release of a petroleum product into the groundwater." The Department identified
 Faircloth Grocery as the suspected source of the contamination and strongly recommended that
 Defendant Pritchett perform a site check to evaluate "whether there has been a release from
 existing or previously existing US Ts ." A true and accurate copy of this correspondence is
 attached hereto as Exhibit C. Once again, Defendant Pritchett failed to take action to determine
 the source and extent of the contamination.

         46.    On April 16, 1992, the Department's Groundwater Section issued a Notice of
 Violation to Pritchett and Eulie Faircloth for violation of oi1h Carolina's groundwater quality
 standards, identifying them as the pai1ies responsible for the groundwater contamination at
 Faircloth Grocery. The Department's Groundwater Section fm1her tasked Pritchett and the
 Faircloths with "eliminating the source of the contamination and restoring groundwater quality. "
 A true and accurate copy of this correspondence is attached hereto as Exhibit D.

         47.    On November 9, 1992, Defendant Pritchett submitted an application for Leaking
 ~et~·oleum Unde~·ground Storage Tank Cleanup Funds to the Department. The application
 mdicates that evidence of a petroleum release was discovered on March 11, 1992. A true and
 accurate copy of this correspondence is attached hereto as Exhibit E.

         48 .    On November 13, 1992, the Department' s Groundwater Section issued a second
   otice of Violation to Pritchett for failing to "conduct and/or report the investigation for soil and
 ground-water clean-up" and failing to "submit a Corrective Action Plan that provides adequate



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protection of human heal th and the environment .. ." A true and accurate copy of this
correspondence is attached hereto as Exhibit F.

        49.    An internal Department memorandum dated November 20, 1992, proposes that
the petroleum leak allegedly discovered by Defen~ant ~ritchett in.1992 could have bee1:
discovered sooner, had Defendant Pritchett complied with the notices sent by.the Depaitment o~
November 28, 1989, and December 20, 1991. A true and accurate copy of this conespondence IS
attached hereto as Exhibit G.

       50.      In August of 1993 , nearly three years after the Department originally tasked
Defendant Pritchett with investigating contamination at the Faircloth Grocery Facility, the UST
product lines at the Faircloth Grocery Facility were deemed to be the source of the leak and were
excavated and removed, and new product lines were installed.

         51.    Since in or about 1993, Defendant Pritchett, as the party deemed responsible for
the contamination by the Department, has attempted to remediate and/or has monitored the
groundwater contamination at and around Faircloth Grocery tlu·ough its environmental
consultants; however, groundwater contamination continues to persist in excess of the applicable
State·a nd Federal standards.

        52.    In or about August of 1993, the Department began monitoring the Shoffner
Plaintiffs water supply wells at 4855 and 4903 for petroleum contamination. Since that time,
the Shoffner Plaintiffs water supply wells at 4855 and 4903 have recurrently evidenced
petroleum contaminants, including but not limited to MTBE.

        53.   The petroleum contamination resulting from the above-described releases at
Faircloth Grocery is undoubtedly the source of the contamination in the Shoffner water supply
wells.

        54.     As a result of the petroleum contamination in the water supply wells at 4855 and
4903, the Shoffner Plaintiffs have suffered damages, including but not limited to the loss of use
and enjoyment of their groundwater, costs related to maintaining point-of-entry filtration systems
on the well for both properties, and diminution in the value of said prope1iies due of the stigma
of the water supply contamination.

  . .   55.     ~he Shoffner Plaintiffs claims constitute claims for groundwater contamination
wit~m the purview. of North Caro:ina General Statute § 130A-26.3, and thus the 10-year statute
of ~epos~ set forth m ~or~h ~arolma General Statute § 1-52(16) is not applicable to said claims.
This Venfied Complamt is timely filed within all applicable statutes of limitation and repose.

    . . 56.   Pl.aintiff Kelli Harrell constructed her residence at 4917 in 2013. Because
m~m~ipal water is not available in the area, Ms. Harrell applied to Alamance County for a well
peimit. Alamance County's well permits section approved the construction of Ms. Harrell's
water supply well.




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       57.      On October 24, 2013, Alamance County collected water samples from Ms.
Harrell's well for analysis and the N .C. State Laboratory of Public Health analyzed the water
samples.

       58.    The analyses of the October 2013 water samples from the Harrell supply well .
showed a detection of28 micrograms per liter (µg/L) of Methyl Tertiary Butyl Ether (MTBE), m
excess of orth Carolina's 2L groundwater standard.

       59.    In or about December of 2013 , Ms. Harrell was notified of the MTBE
contamination and was advised to discontinue drinking her well water and to limit showering and
bathing.

        60.     North Carolina Division of Health's Toxicologist Kenneth Rudo warned Ms .
Harrell that inhaling vapors from MTBE-contaminated water during showering or bathing could
be just as hazardous as drinking the contaminated water.

        61.    On December 12, 2013 , Ms. Harrell met with Pyramid Envirorunental,
environmental consu ltant for Defendant Pritchett. Pyramid offered to supply Ms. Harrell with
bottled water but did not offer a solution to the issue of exposure to MTBE through other
household water use such as bathing.

        62.    Fearing for the health of her son and for her own well-being, Ms. Harrell installed
a point-of-entry fi ltration system on her water supply well to treat the water supply before it
enters her home.

        63.   The petroleum contamination resulting from the above-described releases at
Faircloth Grocery is undoubtedly the source of the contamination in the Harrell water supply
well.

        64.    As a result of the petrolewn contamination in Ms. Harrell's water supply well she
has suffered damages, including but not limited to the loss of use and enjoyment of her
groundwater, costs related to maintaining point-of-entry filtration systems on her well, and
diminution in the value of her property due to the stigma of the water supply contamination.

         65.    Kelli Harrell's claims constitute claims for groundwater contamination within the
purview of North Caro lina General Statute§ l 30A-26.3 , and thus the 10-year statute of repose
set forth in North Carolina General Statute § 1-52(16) is not applicable to said claims. This
Verified Complaint is timely filed within all applicable statutes of limitation and repose.

        66.    Defe ndants Pritchett and Rebecca Faircloth (Faircloth Estate) failed to exercise
the standard of care required of facilities that market and distribute petroleum products and failed
to properly manage the USTs and associated piping located at the Faircloth Grocery Facility
during the periods when these defendants owned, controlled, and managed the Faircloth Grocery
Facility.




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        67.    Defendants Pritchett and Rebecca Faircloth (Faircloth Estate) knew or should
have known that gasoline stored in the USTs were unaccounted for, which indicated the USTs or
associated piping were losing, leaking, discharging and releasing contaminants into the
environment, including the soils, sub-surfaces and groundwater.

        68.    Despite notice and knowledge that the USTs or associated piping at the Faircloth
Grocery Facility were leaking, discharging and releasing gasoline into the environment,
including the soils, sub-surfaces and groundwater, Defendants Pritchett and Rebecca Faircloth
(Faircloth Estate) wrongfully and unlawfully:

           a.   Failed to document these losses, leaks, discharges, releases or spills;

           b. Failed to appropriately and timely report these findings to the appropriate State
              and Federal agencies;

           c. Failed to notify and/or warn area residents of the findings and contamination;

           d. Continued to use the gasoline storage and dispensing equipment to store and
              dispense gasoline, including delivering gasoline to the compromised equipment;

           e. Failed to take any action to contain, clean up or mitigate the presence and spread
              of contamination;

           f.   Failed to properly investigate the cause of the losses, leaks, discharges, releases
                and spills; and

           g. Failed to properly investigate the extent of the subsurface soils and groundwater
              affected by such contamination.

       69.     Plaintiffs are informed and believe that these discharges and releases of
contaminants were allowed by Defendants Pritchett and Rebecca Faircloth (Faircloth Estate) to
continue over a period of years.

       70.      Following the discovery of contamination, tests of the groundwater soils and sub-
surfaces at the Faircloth Grocery Facility revealed the presence of gasoline contamination.
These contaminants found in the groundwater exceeded the quality standards established in
Subchapter 2L, Title I SA of the orth Carolina Administrative Code.

       71.     Despite the discovery of petroleum hydrocarbon contaminants in the soils, sub-
surfaces and groundwater, Defendants Pritchett and Rebecca Faircloth (Faircloth Estate):

           a. Failed to notify any of the area residents, including the Plaintiffs, of such
              findings;

           b. Failed to appropriatel y and timely report such findings to the appropriate state and
              federal agencies;



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          c. Failed to take appropriate action to contain, clean up or mitigate the presence and
              spread of the contaminants;

           d. Failed to properly investigate the cause of the discharges, releases, leaks or spills
              resulting in the foregoing contamination; and

           e. Failed to properly investigate the extent to ~hi~h sub-surfaces, soils and
              groundwater were affected by such contam111at10n.

        72.    As a result of these leaks, discharges, releases or spills of contamin~nts from the
Faircloth Grocery Facility, the subsurface soils and groundwater at and near the .Faircloth
Grocery Facility premises have been contaminated, including Plaintiffs' properties.

       73.     Since at least 1989, Defendant Pritchett and the Faircloths knew that the
subsurface soils and groundwater, both at and near the Faircloth Grocery Facility premises, have
been and were contaminated by gasoline contaminants, which had been discharged or released
from the Faircloth Grocery Facility.

        74.    Throughout the operation of the Faircloth Grocery Facility, Defendants Pritchett
and Rebecca Faircloth (Faircloth Estate) knew or should have known that such contaminants
were being and had been discharged, released and emitted from the Faircloth Grocery Facility,
thereby contaminating the subsurface soils and groundwater at and near the Faircloth Grocery
Facility premises.

       75.    At all times relevant, Defendants Chevron and BP refined petroleum into gasoline
marketed and sold to petroleum marketers, including Defendant Pritchett, and also to the
consuming public, including the citizens of North Carolina.

       76.     Given the timing of the discovery of the petroleum contamination at the Faircloth
Grocery Facility, the gasoline contaminating the Plaintiffs ' groundwater was refined by either
Defendant Chevron or Defendant BP, or a combination of the two.

        77.    The act of utilizing USTs for the storage and dispensing of petroleum is
inherently high-risk. Contamination from leaking underground storage tanks is common in
  orth Carolina. Since 1985, there have been more than 19,000 reported discharges from
underground storage tanks State-wide. There are approximately 5,000 sites across the State
impacted by leaking underground storage tanks. When an underground storage tanks leak, a
variety of contaminants, some carcinogenic, are introduced into the soil and groundwater. Many
of these contaminants, including MTBE, are hazardous to health if ingested or inhaled.

        78.     The exercise of due care and diligent monitoring can eliminate or greatly mitigate
the attendant risk of using US Ts.

        79.   Defendants Chevron and BP knew or should have known that the gasoline they
sold to Defendant Pritchett would be stored in and dispensed from USTs prior to sale to



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consumers and that this arrangement carried a high probability that a release of gasoline and
resultant g;·oundwater contamination would occur in the absence of due diligence and due care.

       80.     Defendants Chevron and BP, as the refiners and sellers of gasoline, have a non-
delegable duty for the safety of others, including Plaintiffs.

        81.     Defendants Chevron and BP, each a multi billion dollar, multination corporation in
its own right, are well-positioned to mitigate the harm of gasoline contaminati01: by s~spen~ing
gasoline sales to jobbers that fail to comply with state and federal safety regulations, mcludmg
failing to investigate suspected releases.

        82.    The Department' s UST facility compliance records, including those for the
Faircloth Grocery Facility, are (and were at all times relevant) public record. As early as 1989,
Defendants Chevron and BP knew or should have known that the gasoline storage and
dispensing equipment at Faircloth Grocery Facility was compromised. In light of this
knowledge, Defendants Chevron and BP had a duty to refuse to supply the Faircloth Grocery
Facility with gaso line until the integrity of the gasoline storage and dispensing equipment could
be confirmed.

        83.     By selling gasoline to Defendant Pritchett while and with knowledge that the
 gasoline storage and dispensing equipment at Faircloth Grocery Facility was compromised,
 Defendants Chevron and BP breached their duty to the general public, including Plaintiffs, and
 were complicit in contributing to the contamination of Plaintiffs ' groundwater.

         84.      Each of the above-described wrongful actions of Defendants concurred to produce
 and cause the entirety of the injuries and damages of Plaintiffs described herein, which injuries
 and damages are indivisible. Therefore, Defendants are jointly and severally liable to Plaintiffs
 for the injuries and damages described herein, and each Defendant is liable to Plaintiffs for the
 entirety of Plaintiffs' injuries and damages. In the alternative, and as the evidence dictates, the
 wrongful acts of an individual Defendant, or some combination of Defendants, caused the
 entirety of Plaintiffs' injuries and damages described herein.

                        PLAINTIFF HARRELL'S CAUSES OF ACTION

                  PLAINTIFF HARRELL'S FIRST CAUSE OF ACTION
   Violation of North Carolina Oil Pollution and Hazardous Substances Control Act, N.C.
     Gen. Stat.§ 143.215.75, et seq., as to Defendants Pritchett and the Faircloth Estate

        85 . . The allegations co~tained vvithin the above paragraphs are incorporated by
 reference as 1f full y set forth herem.

        86.     Defe ndants Pritchett and Rebecca Faircloth (Faircloth Estate) were at all times
 material hereto persons having control over oil or other hazardous substances as defined in
 North Carolina General Statutes § 143-215 .77(5) and (13), for purposes of th~ Oil Pollution and
 Ha~ardous. Substa~ces Control Act (OPHSCA) , N .C. Gen. Stat. § 143.215.75 , et seq., by virtue
 of, immediately pnor to a discharge of gasoline or other oils:



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             a. Owning the US Ts containing the chemicals, the Facility on which those USTs
                were located , and their ownership or bailment of the chemicals stored in those
                tanks;

             b. Storing chemicals in the USTs;

             c. Transporting or transferring, or causing to be transported or transferred, the
                chemicals to such USTs.

     87.   The chemicals referred to herein, including gasoline, are "o il" as defined in
OPHSCA, N.C. Gen. Stat.§ 143.215.77(8).

      88 .    The underground water supply of Plaintiffs and all streams or other bodies or
accumulations of water connected with or adjacent to said water supply are "water" as defined in
OPHSCA, N.C . Gen. Stat.§ 143.215 .77(18).

       89.       Defendants Pritchett and Rebecca Faircloth (Faircloth Estate) violated OPHSCA
by:

             a. Unlawfully discharging oil or other hazardous substances into the waters of the
                State (N.C. Gen. Stat.§ 143-215.83);

             b. Failing to immediately collect and remove the discharge of oil or other hazardous
                substances (N.C. Gen. Stat.§ 143-215 .84(a)and 143-215.94(E)(a)); and

             c. Failing to immediately notify officials of the discharge (N .C. Gen. Stat. § 143-
                215.85 and 143-215.94(E)(a)).

        90.    Under OPHSCA, N.C. Gen. Stat.§ 143-215.93, Defendants Pritchett and Rebecca
Faircloth (Faircloth Estate) are strictly liable, without regard for fault, for all damages to persons
and properties of Plaintiffs caused by the entry of oil or other hazardous substances from the
Faircloth Grocery Facility into their water supply and real properties.

        91.      Defendants Pritchett and Rebecca Faircloth (Faircloth Estate)'s violation ofN.C.
Gen. Stat.§ 143-215.93 constitutes both nuisance and trespass by the entry of oil or other
hazardous substances from the Faircloth Grocery Facility into the Plaintiffs water supply and
real properties.

        92.    As a direct and proximate result of these violations of OPHSCA by Defendants
Pritchett and Rebecca Faircloth (Faircloth Estate), Plaintiff Harrell suffered damages as
described more fully herein, among other damages to be proved through discovery and at trial.




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                   PLAINTIFF HARRELL'S SECOND CAUSE OF ACTION
                              Negligence at to all Defendants

        93.      The allegations contained within the above paragraphs are incorporated by
reference as if full y set forth herein.

        94.    Defendants Pritchett and Rebecca Faircloth (Faircloth Estate) were negligent in
allowing gasoline to spill, discharge, escape, or be released from the USTs located on the
Faircloth Grocery Facility, and to contaminate Plaintiff Harrell's water supply well a~d to travel
to the property o\vned and occupied by Plaintiff HruTell. Specifically, Defendants Pntchett and
Rebecca Faircloth (Faircloth Estate):

              a. Fai led to take reasonable and adequate precautions in operating the Faircloth
                 Grocery Facility to avoid the release gasoline into the ground, soils, sub-surfaces
                 and groundwater within and outside the Faircloth Grocery Facility premises;

              b. Fai led to take reasonable and adequate remedial measures to clean up such
                 contamination on the ground and in the soils, sub-surfaces and groundwater
                 within and outside the Faircloth Grocery Facility premises so as to prevent
                 adj oining properties, including the Plaintiffs ' properties, from becoming
                 contaminated;

              c. Failed to timely and adequately test for the presence of hazardous chemical
                 substances within and outside the Faircloth Grocery Facility premises and on
                 adjacent properties, including the Plaintiffs' properties;

              d. Failed to warn the Plaintiffs of the hazards of contaminated soils, sub-surfaces
                 and groundwater despite having actual or constructive knowledge of such
                 contamination since at least 1991; and

              e. Were negligent in other ways which may be shown through discovery.

        95.     Defendants Chevron and BP were negligent in selling gasoline to Defendant
Pritchett and the Faircloth Grocery Facility despite having actual or constructive knowledge that
the gasoline storage and dispensing equipment at Faircloth Grocery Facility was compromised
and leaking gasoline into the ground, soils, sub-surfaces and groundwater within and outside the
Faircloth Grocery Facility premises.

         96.    As a direct and proximate result of this negligence of the Defendants, Plaintiff
 Harrell suffered damages as described more fully herein, among other damages to be proved
 through discovery and at trial.




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                PLAINTIFF HARRELL'S THIRD CAUSE OF ACTION
   Negligence Per Se as to Defendants Pritchett and Rebecca Faircloth (Faircloth Estate)

        97.     The allegations contained within the above paragraphs are incorporated by
reference as if full y set forth herein.

        98 .    The acts and omissions of Defendants Pritchett and Rebecca Faircloth .CFa~rclo~h
Estate) complained of herein are governed by statutes, laws, and regulations, and are m v1olat1on
of these statutes, laws, and regulations.

        99.   These statutes, laws, and regulations were enacted to prevent the type of harm
complained of herein, and Plaintiff Harrell is within the class of persons the statutes, laws, and
regulations were enacted to protect.

       100. The statutes, laws and regulations which were violated by Defendants Pritchett
and Rebecca Faircloth (Faircloth Estate) include, among others, the following:

              a. Section 143-215 .83 of the North Carolina Oil Pollution & Hazardous Substances
                 Control Act, for discharging, or causing to be discharged, oil or other hazardous
                 substances into the groundwater which caused damage to persons or property;

              b. Section 143-215.84(a) of the North Carolina Oil Pollution & Hazardous
                 Substances Control Act, for failing to immediately collect and remove the
                 discharge of oil or other hazardous substances;

              c. Section 143 -215.85 of the North Carolina Oil Pollution & Hazardous Substances
                 Control Act, for failing to immediately notify officials of their discharge of oil or
                 other hazardous substances into the groundwater;

              d. Section 143 -215.94E of the North Carolina Oil Pollution & Hazardous Substances
                 Control Act, for failing to immediately collect and remove the discharge of oil or
                 other hazardous substances, and failing to immediately notify officials of their
                 discharge; and

              e. Subchapter 2L of Title ISA of the No1ih Carolina Administrative Code, for
                 causing the groundwater at the Facility and surrounding areas to exceed the
                 applicable water quality standards.

          101. These wrongful and unlawful acts and omissions of Defendants Pritchett and
 Rebecca Faircloth (Faircloth Estate) were the proximate cause of the injuries and damages to the
 Plaintiffs and the Plaintiffs ' property as alleged herein and such injuries and damages were
 reasonably foresee able.

         102. As a direct and proximate result of this negligence p er se of the Defendants
 Pritchett and Rebecca Faircloth (Faircloth Estate), Plaintiff Harrell suffered damages as
 described more fully herein, among other damages to be proved through discovery and at trial.



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              PLAINTIFF HARRELL'S FOURTH CAUSE OF ACTION
  Res Ipsa Loquitur as to Defendants Pritchett and Rebecca Faircloth (Faircloth Estate)

        103. The allegations contained within the above paragraphs are incorporated by
reference as if full y set forth herein.

        104. At all times relevant hereto, Defendants Pritchett and Rebecca Faircloth (Faircloth
Estate) maintained exclusive control of the US Ts and the Faircloth Grocery Facility.

       105. The spill, discharge, release or escape of gasoline or other petroleum
hydrocarbons and related chemicals from the Faircloth Grocery Facility occurred from the
negligence, gross negligence, reckless or wanton misconduct of the Defendants Pritchett and
Rebecca Faircloth (Faircloth Estate).

        106. Such wrongful and unlawful acts and omissions of the Defendants Pritchett and
Rebecca Faircloth (Faircloth Estate) were the proximate cause of the injuries and damages
suffered by Plaintiff Harrell and Plaintiff Harrell ' s prope1iy as alleged herein and such damages
were reasonably foreseeable.

        107. Pursuant to the doctrine of Res lpsa Loquitur, as a direct and proximate result of
the wrongful acts and omissions of the Defendants Pritchett and Rebecca Faircloth (Faircloth
Estate), Plaintiff Harrell suffered damages as described more fully herein, among other damages
to be proved through discovery and at trial.

                           ALL PLAINTIFFS' CAUSES OF ACTION

                                  FIFTH CAUSE OF ACTION
                                  Nuisance as to all Defendants

        108. The allegations contained within the above paragraphs are incorporated by
reference as if full y set forth herein.

        109. Plaintiffs' groundwater has been recurrently contaminated by the aforementioned
discharges, releases and emissions of hazardous chemical substances from the Faircloth Grocery
Facility.

        110. The contamination of the Plaintiffs' groundwater with hazardous chemical
substances constitutes an unreasonable and substantial invasion of the Plaintiffs' use and
enjoyment of their properties in that they can no longer use and enjoy their properties and
groundwater for the same purposes and to the same extent as they could prior to the
contamination caused by the Defendants. Therefore, the contamination constitutes a permanent
nuisance, which has resulted in the injuries and damages to the Plaintiffs and the Plaintiffs'
prope1iies described herein.




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         111. As a direct and proximate result of the nuisance maintained by the Defendants,
Plaintiffs have suffered damages as described more fully herein, among other damages to be
proved through discovery and at trial.

       SIXTH CAUSE OF ACTION -PRITCHETT & THE FAIRCLOTH ESTATE
                         Trespass as to all Defendants

        112. The allegations contained within the above paragraphs are incorporated by
reference as if full y set forth herein.

        113. Plaintiffs' groundwater has been recurrently contaminated by the aforementioned
discharges, releases and emissions of hazardous chemical substances from the Faircloth Grocery
Facility.

        114. The contamination of the Plaintiffs' prope11ies with hazardous chemical
substances from the Faircloth Grocery Facility constitutes unauthorized and therefore unlawful
entries on the Plaintiffs ' prope11ies, that is, such contamination amounts to renewing trespasses
on the Plaintiffs' properties by the Defendants, which has resulted in the injuries and damages to
the Plaintiffs and the Plaintiffs' properties an alleged herein.

        115. As a direct and proximate result of the Defendants ' trespass, Plaintiffs have
suffered damages as described more fully herein, among other damages to be proved through
discovery and at trial.

                                           DAMAGES

        116. The allegations contained within the above paragraphs are incorporated by
reference as if fully set forth herein

         117. As a result of the acts and omissions of the Defendants and the resulting injuries
to their properties caused thereby, Plaintiffs, have each sustained damages in an amount in
excess of TWENTY-FIVE THOUSAND DOLLARS ($25,000.00), which damages may include,
but are not limited to, the following:

           a. Diminution in value of Plaintiffs' properties;

           b. Costs associated with the cleanup of Plaintiffs ' propetiies and restoring them to a
              condition free of contamination; and

          c. Past and future out of pocket expenses for filtering their groundwater for personal
             use.




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          WHEREFORE, Plaintiffs respectfully pray the Court that:

        1.      Plaintiffs have and recover compensatory damages from Defendants, jointly and
severally, in an amount in excess of $25,000.00, said amount to be proven at the trial of this
action;

       2.     Plaintiffs have and recover of Defendants pre- and post- judgment interest as
allowed by law;

          3.     The costs of this action be taxed against Defendants;

          4.     That the Court accept this Verified Complaint as an Affidavit;

          5.     The Court grant to Plaintiffs trial by jury on all issues so triable; and

          6.     The Court grant to Plaintiffs such other and fmiher relief as it may deem just and
proper.

          Respectfully submitted, this the 21 51 day of October, 2016.

                                                LAW OFFICES OFF. BRYAN BRICE, JR.




                                                By:     £    U/tl;;Afov.-._;     1<-w~
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                                                      Attorney.for Plaint[lfs




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                                            VERIFICA TIO

          I, Stephen Douglas Shoffner, being first duly sworn, deposes and says that he is a
  Plaintiff in the above-captioned matter; that he has read the foregoing Verified Complaint, and
  knows the contents thereof; that the same is true of his own knowledge except those matters and
  things stated therein upon information and belief, and as to those he believes them to be true.

          This the   d- /   day of October, 2016.




  NORTH CAROLINA

A-I am tU) <!..e _COUNTY

        £om      t~ ai:d subscribed before me this the cf<. /   day of October, 2016.

  By:    )_.,~ :!). tb(WM~                                                         ,,,,,,,
        Notary Public                                                      ,,,,~
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                                          VERIFI CA TI 0

        I, Kelli Shoffner Harrell, being first duly sworn, deposes and says that she is a Plaintiff in
the above-captioned matter; that she has read the foregoing Verified Complaint, and knows the
contents thereof; that the same is true of her own knowledge except those matters and things
stated therein upon information and belief, and as to those she believes them to be true.

        This   the~ day of October, 2016.

                                                By:
                                                      Kelli Shoffner Harrell

NORTH CAROLINA

               COUNTY


        Sworn to and subscribed before me this thv        /   day of October, 2016.

By:   cv~ tc~

                          #
      Notary Public

My commission expires:                   f :+




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